
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                                 ____________________


          No. 95-1919

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                 ANH VAN, A/K/A ANDY,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Nathaniel M. Gorton, U.S. District Judge]
                                              ___________________


                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________
                            Bownes, Senior Circuit Judge,
                                    ____________________
                              and Stahl, Circuit Judge.
                                         _____________

                                 ____________________

               Edward P. Ryan, Jr., with whom O'Connor &amp; Ryan, P.C. was on
               ___________________            _____________________
          brief for appellant.
               Michael J. Pelgro, Assistant United States Attorney,
               _________________
          Organized Crime Drug Enforcement Task Force, with whom Donald K.
                                                                 _________
          Stern, United States Attorney, was on brief for appellee.
          _____


                                 ____________________

                                    June 18, 1996
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                      Per Curiam.  Anh Van pled guilty to conspiracy to
                      Per Curiam.
                      __________

            deal unlawfully in firearms, 18 U.S.C.   371, unlawful

            dealing in firearms, id.    922(a)(1), and six counts
                                 ___

            relating to his unlawful possession of firearms, id.   
                                                             ___

            922(g)(1), 922(k); 26 U.S.C.   5861(d).  He appeals to

            challenge a four-level increase imposed under the sentencing

            guidelines on the ground that he was an organizer or leader

            of a criminal activity that involved five or more criminally

            responsible participants or was otherwise extensive. 

            U.S.S.G.   3B1.1(a).  Out of an abundance of caution, we are

            retaining jurisdiction over the case and remanding for

            findings to clarify the district court's basis for its

            decision.

                      Under the guideline, the defendant, in order to

            qualify for the four-level adjustment, must have been an

            organizer or leader of a criminal activity, and the criminal
                                                        ___

            activity must have involved five or more participants

            (including the defendant) or have been "otherwise extensive." 
                                      __

            U.S.S.G.   3B1.1(a).  Because the principal dispute in this

            case concerns the scope rather than the status determination,

            we limit ourselves to the facts pertaining to the scope of

            the criminal activity.

                      Briefly summarized, the undisputed facts in the

            presentence report stated that Van sold six firearms to a

            federal undercover agent over a period of a year.  Prior to



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            each sale, the agent contacted Van and asked to buy a

            firearm.  Van made the delivery and collected the money for

            one of the transactions, but sent others to complete the

            other five.  The agent covertly recorded at least some of the

            transactions.  The presentence report initially concluded

            that five or more participants were involved in the

            transactions.  Van did not dispute that a total of eight

            individuals (in addition to himself) were at least present

            for one or more of the transactions. 

                      Van did dispute whether some of these individuals

            were shown to be criminally responsible participants; the

            guideline provides that in order to impose the four-level

            increase on the ground that the activity involved five or

            more participants, four individuals other than the defendant

            must be found to be criminally responsible.  U.S.S.G.  

            3B1.1, comment. (n.1).  The probation officer responded with

            an addendum suggesting that the presence of the eight other

            individuals would show the activity to have been otherwise

            extensive, even if the criminal culpability of any four

            individuals could not be proven.

                      The district judge, after a sentencing hearing,

            imposed the four-level increase and checked the box on the

            judgment form indicating that he was adopting the findings of

            the presentence report.  But the court did not make explicit

            findings of its own, beyond the following statement at the



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            hearing:

                      [T]he defendant, Anh Van, was an
                      organizer or leader of a criminal
                      activity that involved five or more
                      participants or was otherwise extensive,
                      and . . . therefore, a four-level
                      increase is warranted. . . .

                      The law governing the district court's obligation

            and our own on review is well-settled and easily stated.  At

            the time of sentencing, the court "shall state in open court

            the reasons for its imposition of the particular sentence." 

            18 U.S.C.   3553(c).  This requires the court to make

            "reasonably specific findings" and to "explain, generally,

            how it computed the applicable guideline range."  United
                                                              ______

            States v. McDowell, 918 F.2d 1004, 1012 (1st Cir. 1990).  We
            ______    ________

            have found minimal compliance with section 3553(c) when we

            could determine that the court relied on the presentence

            report, and the presentence report provided a sufficient

            basis for meaningful appellate review.  See United States v.
                                                    ___ _____________

            Cruz, 981 F.2d 613, 617-18 (1st Cir. 1992); United States v.
            ____                                        _____________

            Schultz, 970 F.2d 960, 963 n.7 (1st Cir. 1992), cert. denied,
            _______                                         ____  ______

            113 S. Ct. 1020 (1993); cf. United States v. Catano, 65 F.3d
                                    __  _____________    ______

            219, 230 (1st Cir. 1995); McDowell, 918 F.2d at 1011-12.  The
                                      ________

            government bears the burden of proving the facts material to

            the application of the guidelines by a preponderance of the

            evidence, and the requirements of Fed. R. Crim. P. 32,

            dealing solely with fact findings, are somewhat more

            demanding than the general directive of section 3553(c). 


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            United States v. Osorio, 929 F.2d 753, 764 n.5 (1st Cir.
            _____________    ______

            1991).  Fed. R. Crim. P. 32 allows the court to adopt the

            facts set forth in the presentence report "[e]xcept for any

            unresolved objection" noted in the addendum submitted by the

            probation officer as required by the rule.  Fed. R. Crim. P.

            32(b)(6)(C), (D).  The court must resolve any outstanding

            disputed facts or determine that they will not be taken into

            account, and must append a written record of its findings and

            determinations to the presentence report.  Fed. R. Crim. P.

            32(c)(1).  Although explicit resolution of disputed material

            facts is preferable, we have found that the court implicitly

            resolved the facts when the court's statements and the

            sentence imposed showed that the facts were decided in a

            particular way.  See, e.g., Cruz, 981 F.2d at 618-19; United
                             ___  ____  ____                      ______

            States v. Wells Metal Finishing, Inc., 922 F.2d 54, 58 (1st
            ______    ___________________________

            Cir. 1991); cf., e.g., United States v. Geer, 923 F.2d 892,
                        __   ____  _____________    ____

            898 (1st Cir. 1991); United States v. Levy, 897 F.2d 596, 599
                                 _____________    ____

            (1st Cir. 1990).  In the absence of legal error, the district

            court's ruling will be sustained so long as the information

            upon which it relied is sufficient to support the findings

            under a clearly erroneous standard.  United States v.
                                                 _____________

            Morillo, 8 F.3d 864, 872-73 (1st Cir. 1993).  Of course, we
            _______

            have to be able to determine what the district court found

            and the basis for the findings to the extent necessary to

            permit effective appellate review.  McDowell, 918 F.2d at
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            1012.

                      In this instance, what may have been a slip of the

            tongue by the district court has complicated matters.  If the

            district court had held squarely that the activity involved

            four criminally responsible participants plus the defendant,

            the court's findings would be adequate for us to conclude

            that it implicitly resolved the material disputed facts.  As

            to three of the other participants, Van does not dispute that

            they were criminally responsible.  Two pled guilty to

            firearms charges and a third (who was indicted but fled the

            jurisdiction) was involved in transporting and handing over a

            weapon to the government agent during a transaction arranged

            by Van.  The principal remaining factual dispute concerns the

            criminal culpability of a man referred to in the presentence

            report as "Michael."

                      The presentence report stated that Michael was

            present in a car with Hieu Minh Nguyen, whose criminal

            responsibility Van does not dispute, during a sale of heroin

            and a gun to the government agent.  The agent purchased a

            gram of heroin, then asked about the gun.  Nguyen said

            something to Michael in Vietnamese; Michael then retrieved a

            paper bag which contained a semiautomatic pistol, and the

            agent purchased the weapon.  The agent said he would be

            interested in purchasing more guns, and according to the

            probation officer, Michael responded that he would contact



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            the agent as soon as he had more guns to sell. 

                      In his objections to the presentence report, Van

            contended that transcripts of the tape of the conversation

            showed that it was Nguyen, not Michael, who discussed the

            procurement of more guns.  But Van does not dispute that

            Michael retrieved the paper bag containing the gun and was

            present during the transaction.  There is no finding by the

            district court as to who made the statement, but it is not

            clear that it matters because the district court could

            rationally have found that Michael was more likely than not

            criminally responsible even if he merely retrieved the

            weapon.  Of course, in the abstract, it is possible that

            Michael was an unknowing dupe who understood nothing of the

            transaction and thought he was handing over a box of candy. 

            But the surrounding circumstances make this unlikely, and the

            district court was certainly entitled to draw the inference

            that Michael knowingly participated.  Cf. United States v.
                                                  ___ _____________

            Kirvan, 997 F.2d 963, 966-67 (1st Cir. 1993).
            ______

                      The difficulty here is that there is no clear

            finding by the district judge that he found five criminally

            responsible participants.  Although the judge checked the box

            indicating he was adopting the presentence report's findings,

            the cross-reference remains ambiguous because the addendum

            does not explicitly state which ground the probation officer

            adopted, saying alternatively that there were "at least nine



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            participants," but that even if there were not at least five

            criminally responsible participants, the total of nine

            persons involved would support an extensiveness finding.  The

            district court added (or did not dispel) uncertainty by

            phrasing its own finding in the disjunctive.  While there

            might be reason to guess that the court meant to find there

            were five criminally responsible participants, there is no

            unequivocal finding.

                      The problem is exacerbated to the extent that the

            court may have relied upon the alternative ground that Van's

            criminal activity was "otherwise extensive."  Again, given

            the disjunctive, we are not even sure the district court made

            the "otherwise extensive" finding, and the only circumstance

            articulated in the presentence report as supporting such a

            finding was that a total of nine individuals, whether

            criminally responsible or not, were present during the six

            transactions.  An "otherwise extensive" finding, however,

            must be warranted by "the totality of the circumstances,

            including not only the number of participants but also the

            width, breadth, scope, complexity, and duration of the

            scheme."  United States v. Dietz, 950 F.2d 50, 53 (1st Cir.
                      _____________    _____

            1991); see also United States v. Graciani, 61 F.3d 70, 76 n.7
                   ___ ____ _____________    ________

            (1st Cir. 1995).

                      All this might not matter if the undisputed facts

            required a finding either that Michael was a criminally
            ________



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            responsible participant or that the activity was otherwise

            extensive.  But even the government does not argue this in so

            many words.  And such findings would require factual

            inferences and characterizations as to which the district

            court has considerable latitude.  Graciani, 61 F.3d at 75. 
                                              ________

            Thus, we are hesitant to find that the district court was

            compelled to impose the four-level increase and that the

            omission of findings is harmless.

                      Accordingly, we think the best solution, and one we

            have used in previous cases, e.g., Geer, 923 F.2d at 898, is
                                         ____  ____

            to ask the district court to specify which of the two grounds

            (five or more participants, otherwise extensive, or both) it

            relied upon and to make brief findings, either by

            incorporating pertinent portions of the presentence report or

            otherwise, as to each ground relied upon.  Cf. Fed. R. Crim.
                                                       ___

            P. 32(c)(1).  The district court is requested to advise us of

            its findings by supplemental order within 45 days.  When we

            receive the findings, we will determine whether any further

            briefing or proceeding is required.

                      Determinations in connection with sentencing are an

            odd hybrid in the law.  Based on a tradition of discretionary

            sentencing, the burden of proof and other procedural

            safeguards are rather relaxed in this realm.  See Nichols v.
                                                          ___ _______

            United States, 114 S. Ct. 1921, 1928 (1994); United States v.
            _____________                                _____________

            Tucker, 404 U.S. 443, 446 (1972).  On the other hand, the
            ______



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            mandatory character of the guidelines (subject to departures)

            and the significant sentences they entail make guideline

            determinations considerably important to defendants, as

            reflected in the requirements of 18 U.S.C.   3553(c) and Fed.

            R. Crim. P. 32.  Our judgment as to whether an error or

            ambiguity is harmless has to take account of both of these

            somewhat divergent attitudes toward sentencing.

                      In this instance, we think that the ambiguity in

            the findings is patent (even though it may rest on a slip of

            the tongue) and is not unequivocally harmless.  Given the

            stakes for the defendant and the simplicity of obtaining a

            clarification, we think the limited remand order is

            appropriate.  If the district court concludes on

            reexamination that the four-level increase should not be

            applied, it can so state in its supplemental findings and we

            will remand the case for resentencing.  This court therefore

            retains jurisdiction but remands for supplemental findings.
            ____________________     _______

                      It is so ordered.
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